            Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.1 Page 1 of 53



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            5          atheweny@pettitkohn.com
            6   Attorneys for Defendant
                WALMART INC.
            7

            8                        UNITED STATES DISTRICT COURT
            9                     SOUTHERN DISTRICT OF CALIFORNIA
        10      LORENA VELAZQUEZ, an                      Case No. '23CV0027 JM JLB
                Individual,
        11                                                NOTICE OF REMOVAL OF
                                   Plaintiff,             ACTION PURSUANT TO 28 U.S.C.
        12                                                SECTIONS 1332 AND 1441(a) and
                v.                                        (b)
        13
                WALMART INC., a Delaware                  Courtroom:
        14      Corporation; PROTEA                       Judge:
                PROPERTIES, LLC, a Delaware               Magistrate Judge:
        15      Corporation; and DOES 1 through           Filed:            June 6, 2022
                50, Inclusive,                            Trial Date:
        16
                                   Defendants.
        17

        18      TO THE CLERK OF THE ABOVE-ENTITLED COURT:
        19            PLEASE TAKE NOTICE that Defendant WALMART INC. (“Walmart”), by
        20      and through its undersigned counsel, hereby removes the above-entitled action filed
        21      by Plaintiff LORENA VELAZAQUEZ (“Plaintiff”) in the Superior Court of the
        22      State of California, County of San Diego, Case No. 37-2022-00021526-CU-PO-
        23      CTL to the United States District Court, Southern District of California pursuant to
        24      28 U.S.C. section 1441, and respectfully alleges as follows:
        25            1.     On June 6, 2022, an action was commenced in the Superior Court of
        26      the State of California, County of San Diego, entitled Lorena Velazquez v. Walmart
        27      Inc. et al., Case No. 37-2022-00021526-CU-PO-CTL (“the State Action”). A copy
        28      of the Complaint filed in the State Action is attached hereto as Exhibit “1.”
                                                          1
2354-3424                                                      NOTICE OF REMOVAL OF ACTION
                                                                                  CASE NO.:
            Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.2 Page 2 of 53



            1   Plaintiff filed a First Amended Complaint on September 12, 2022, a copy of which
            2   is attached as Exhibit “2.”
            3         2.     Walmart was served with a copy of the Complaint filed in the State
            4   Action and a Summons from the State Court on October 5, 2022. A copy of the
            5   Summons on First Amended Complaint with the Proof of Service is attached hereto
            6   as Exhibit “3.”
            7         3.     On November 3, 2022, Walmart timely filed its Answer to Plaintiff’s
            8   Complaint, attached hereto as Exhibit “4.”
            9         4.     Based on a review of the State Court file as of January 9, 2023, no
        10      other Defendant has been served with any Summons or Complaint in the State
        11      Action.
        12            5.     Plaintiff’s Complaint purports to assert causes of action based in
        13      premises liability and negligence. Plaintiff’s Complaint seeks to recover damages
        14      for lost wages, loss of earning capacity, hospital and medical expenses, past and
        15      future medical expenses, and past and future general damages.
        16                 DIVERSITY JURISDICTION UNDER 28 U.S.C. SECTION 1332(A)
        17            6.     This Court has jurisdiction over this matter under 28 U.S.C. section
        18      1332(a)(1) because there is complete diversity as the parties are citizens of different
        19      states, and the amount in controversy exceeds $75,000, exclusive of interest and
        20      costs. Removal is therefore proper pursuant to 28 U.S.C. sections 1441 (a) and (b).
        21            a.     Plaintiff is a Citizen of California
        22            7.     Plaintiff is domiciled in and is presently a citizen of the State of
        23      California. On or about December 20, 2022, Plaintiff responded to Walmart’s
        24      Form Interrogatories (Set One) verifying that she is domiciled in the State of
        25      California, and thus a present citizen of California. Plaintiff has resided in
        26      California since at least 2010. Attached hereto as Exhibit “5” is Plaintiff’s verified
        27      responses to Walmart’s Form Interrogatories (Set One) (see 4:26-5:6). Plaintiff
        28      further admitted that she is a citizen of the State of California, and her permanent
                                                           2
2354-3424                                                       NOTICE OF REMOVAL OF ACTION
                                                                                   CASE NO.:
            Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.3 Page 3 of 53



            1   residence is in California. Attached hereto as Exhibit “6” is Plaintiff’s verified
            2   responses to Walmart’s Requests for Admission (Set One) (see 13:21-14:5).
            3         b.     Plaintiff Claims Damages in Excess of $75,000
            4         8.     Plaintiff claims approximately $11,627,871.96 in damages. Attached
            5   hereto as Exhibit “7” is Plaintiff’s Statement of Damages. As result of the
            6   incident, Plaintiff claims to have sustained a mild traumatic brain injury and
            7   orthopedic injuries. (See Exhibit “5” [8:25-11:14].) Plaintiff’s claim for general
            8   damages alone seeks over $8,000.000. Plaintiff further claims past medical
            9   expenses ($827,871.96), future medical expenses ($2,000,000), incidental damages,
        10      lost earnings ($500,000, future lost earnings ($300,000), and other damages to be
        11      proven at the time of trial. Accordingly, the amount in controversy, exclusive of
        12      costs and interests, certainly exceeds the minimum requirement required for
        13      diversity jurisdiction under 28 U.S.C. section 1332(a).
        14            c.     Walmart is a Citizen of Delaware
        15            9.     Walmart is a citizen of Delaware where it is incorporated, and of
        16      Arkansas, where it holds its principal place of business (in Bentonville, Arkansas).
        17      Copies of Walmart’s corporate information from the California Secretary of State
        18      Business Search and the Arkansas Secretary of Business/Commercial Services are
        19      attached hereto as Exhibits “8” and “9,” respectively.
        20            10.    Because the State Action is pending in the Superior Court of California
        21      in and for the County of San Diego, removal of this action to this District Court is
        22      proper under 28 U.S.C. section 1441(a).
        23            11.    Removal is timely under 28 U.S.C. section 1446(b) because this
        24      Notice of Removal is filed within 30 days of Walmart receiving notification from
        25      Plaintiff’s discovery responses that she was a citizen of the State of California and
        26      that the total amount in controversy exceeds the jurisdictional requirements of
        27      $75,000, exclusive of costs and interests. It was not until Plaintiff served her
        28      discovery responses, and Statement of Damages, concerning the nature and extent
                                                           3
2354-3424                                                       NOTICE OF REMOVAL OF ACTION
                                                                                   CASE NO.:
            Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.4 Page 4 of 53



            1   of his injuries and confirming his citizenship in the State of California, that
            2   Walmart learned this matter exceeded the jurisdictional requirements for diversity
            3   jurisdiction under the Federal Rules of Civil Procedure.
            4         12.    Written notice of the filing of this Notice of Removal will be promptly
            5   served on Plaintiff. A true and correct copy of this Notice of Removal and the
            6   concurrently filed Notice of Interested Parties and Civil Cover Sheet will be filed
            7   with the Clerk of the Superior Court of the State of California in and for the County
            8   of San Diego as soon as practicable.
            9         WHEREFORE, Walmart requests that the above-entitled action be
        10      removed from the Superior Court of the State of California, County of San Diego
        11      to the United States District Court.
        12                                       PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
        13

        14      Dated: January 6, 2023           By /s/ Allen Theweny
                                                        Andrew N. Kohn, Esq.
        15                                              Allen Theweny, Esq.
                                                        Attorneys for Defendant
        16                                              WALMART INC.
        17

        18

        19

        20

        21

        22

        23

        24

        25

        26

        27

        28
                                                           4
2354-3424                                                       NOTICE OF REMOVAL OF ACTION
                                                                                   CASE NO.:
Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.5 Page 5 of 53




                  LORENA VELASQUEZ V. WALMART INC., ET AL.

                                 NOTICE OF REMOVAL
                                  INDEX OF EXHIBITS


                                                                                  PAGE
  EXHIBIT                              DESCRIPTION
                                                                                 NUMBER
      1     Complaint                                                              5

      2     First Amended Complaint                                                11

      3     Summons on First Amended Complaint and Proof of Service                18
            Defendant Walmart Inc.’s Answer to Plaintiff’s First Amended
      4                                                                            22
            Complaint
            Plaintiff’s verified response to Defendant Walmart Inc.’s Form
      5                                                                            30
            Interrogatories (Set One)
            Plaintiff’s verified response to Defendant Walmart Inc.’s Requests
      6                                                                            42
            for Admission (Set One)
      7     Plaintiff’s Statement of Damages                                       49

      8     California Secretary of State Certificate of Status                    51

      9     Arkansas Secretary of State Corporation Information                    52
      Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.6 Page 6 of 53



 1   JUSTIN FARAHI, ESQ. (SBN 298086)                                     ELECTRONICALL V FILED
     FARAHI LAW FIRM, APC                                                  Superfor C€1 wt €i f Californ ia,
 2                                                                            County €i f San □ ieQ €i
     12079 Jefferson Boulevard
     Los Angeles, California 90230                                         0610612022 at 1□ :56 :52      ~
 3
     (310) 774-4500                                                        Clerk of the Superior Court
                                                                        By 8izah!eth Re y es., Deputy Clerk
 4   Fax No. (424) 295-0557
 5
     Attorney for Plaintiff
 6   LORENA VELAZQUEZ

 7
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                       COUNTY OF SAN DIEGO
 9

10
     LORENA VELAZQUEZ, an Individual;                   )   Case No.:   37-2022-00021526- CU- P0- CTL
11                                                      )
                                           Plaintiff,   )   COMPLAINT FOR:
12
                                                        )   1. GENERAL NEGLIGENCE and
13                         v.                           )   2. PREMISES LIABILITY
                                                        )
14   WALMART       INC.,      A    DELAWARE             )
     CORPORATION;PROTEA PROPERTIES,                     )
15
     LLC, A DELAWARE CORPORATION; and                   )
16   DOES 1 through 50, Inclusive;                      )   DEMAND FOR JURY TRIAL
                                                        )
17
                                        Defendants.
18

19
        COMES NOW, Plaintiff LORENA VELAZQUEZ(“the PLAINTIFF”), an individual, and for
20
     causes of action against Defendant WALMART INC. (WALMART) A DELAWARE
21
     CORPORATION, Defendant PROTEA PROPERTIES, LLC, A DELAWARE CORPORATION,
22
     and Defendants DOES 1 through 50, Inclusive(“the DEFENDANTS”) complains and alleges as
23   follows:
24

25                                          THE PLAINTIFF
26

27     1.   At all times relevant herein, the PLAINTIFF is an individual residing at1500 3rd Ave. #18,

28
            Chula Vista, CA 91911.




                                               COMPLAINT - 1                     EXHIBIT "1" - Page 5
      Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.7 Page 7 of 53



 1                                            THE DEFENDANTS
 2

 3      2. The PLAINTIFF is informed and believes and based thereon alleges that at all relevant times

 4
     herein, Defendant WALMART INC., is a Delaware corporation, with principal place of business at
     702 Southwest 8th St., City of Bentoville, County of Benton, State of Arkansas.
 5

 6
        3. The PLAINTIFF is informed and believes and based thereon alleges that at all relevant times
 7
     herein, Defendant PROTEA PROPERTIES, LLC, is a Delaware Corporation with principal place of
 8
     business at 3262 Holiday Court Ste 100, La Jolla, CA 92037.
 9

10      4. The true names and capacities (whether individual, corporate, or otherwise) of Defendants
11   DOES 1 through 50, inclusive, are unknown to the PLAINTIFF. The PLAINTIFF therefore sues the
12   said Defendants by such fictitious names pursuant to CCP § 474. The PLAINTIFF further alleges that
13   each fictitiously named Defendant is in some manner responsible for the acts and occurrences alleged

14
     herein. The PLAINTIFF will seek leave to amend this Complaint to allege the true names and
     capacities of Defendants DOES 1 through 50, inclusive, when they are ascertained.
15

16
        5. The PLAINTIFF is informed and believes and based thereon, alleges that each of the named
17
     and fictitious Defendants identified in this Complaint was the agent, partner, co-joint venturer,
18
     associate, and/or employee of one or more of the other Defendants, and was acting in the course and
19
     scope of such agency, partnership, joint venture, association, and/or employment when the acts giving
20
     rise to the causes of action occurred.
21

22      6. The PLAINTIFF is informed and believes and based thereon alleges that WALMART INC.,
23   PROTEA PROPERTIES, LLC, A DELAWARE CORPORATION, and Defendants DOES 1
24   through 50, inclusive, are legally responsible for the events and happenings herein referred to, caused
25   damage proximately and foreseeably to the PLAINTIFF, as alleged herein.

26
        7. All allegations in this Complaint are based on information and belief and/or are likely to have
27
     evidentiary support after a reasonable opportunity for further investigation or discovery. Whenever
28
     allegations in this Complaint are contrary or inconsistent, such allegations shall be deemed alternative.



                                                  COMPLAINT - 2                  EXHIBIT "1" - Page 6
      Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.8 Page 8 of 53



 1                                       VENUE AND JURISDICTION
 2

 3      8. Venue in this Court is appropriate as the incident and resulting injury and damage to the

 4
     PLAINTIFF occurred in the County of San Diego, State of California.

 5
        9. Jurisdiction is proper in this case in that the amount in controversy is in excess of the statutory
 6
     requirements of this Court.
 7

 8
                                              COMMON ALLEGATION
 9

10
        10. PLAINTIFF is informed and believes, and thereon alleges, that at all relevant times herein, the
11   Defendants are/were the owner, lessor, sub-lessor, managing agent, landlord, manager, operator,
12   marketer, inspector, maintainer, and/or controller, of the commercial property located at 1150
13   Broadway, Chula Vista, CA 91911, County of San Diego, State of California (the “subject premises”).
14

15
                                          FIRST CAUSE OF ACTION
                                           GENERAL NEGLIGENCE
16
                               (By the PLAINTIFF against the DEFENDANTS)
17

18
        11. The PLAINTIFF hereby re-alleges and incorporates herein by reference each and every
19
     allegation contained in the previous paragraphs, as though fully set forth herein.
20

21      12. On June 12, 2020, the PLAINTIFF was lawfully on the subject premises to shop when a
22   packaged item fell off and as a result, PLAINTIFF fell on the floor thereby causing bodily injuries
23   upon her which require medical attention and treatment
24

25      13. The Defendants, and each of them, fully and well knew, or should have known in the exercise

26
     of reasonable care, that the structures and/or components and/or other parts of the subject premises
     were in an unsafe condition, and a menace to PLAINTIFF and others lawfully on the subject premises.
27

28




                                                  COMPLAINT - 3                  EXHIBIT "1" - Page 7
      Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.9 Page 9 of 53



 1      14. By reason of the aforesaid negligence, carelessness, and recklessness of the Defendants, and
 2   each of them, as aforesaid, and as a direct and proximate result thereof, a dangerous shopping area that
 3   was not properly installed and/or maintained existed in the subject premises causing PLAINTIFF to

 4
     sustain the injuries as herein alleged.

 5
        15. As a direct and proximate result of the negligence, carelessness, and recklessness of the
 6
     Defendants, and each of them, as aforesaid, was hurt in her health, strength, and activity, sustaining
 7
     severe shock and injuries to her person, all of which injuries have caused, continue to cause, and will
 8
     cause PLAINTIFF great physical and PLAINTIFF emotional pain and suffering.
 9

10      16. PLAINTIFF is informed and believes and, based thereon, alleges that the said injuries are
11   permanent in nature, entitling Plaintiff CASTILLO to damages in a sum according to proof.
12

13      17. As a direct and proximate result of the negligence, carelessness, and recklessness of the

14
     Defendants and each of them, as aforesaid, PLAINTIFF has been required to obtain medical services,
     and has suffered severe emotional distress.
15

16
                                          SECOND CAUSE OF ACTION
17
                                               PREMISES LIABILITY
18
                                (By the PLAINTIFF against the DEFENDANTS)
19

20      18. PLAINTIFF hereby re-alleges and incorporates herein by reference each and every allegation

21   contained in the previous paragraphs, as though fully set forth herein.

22
        19. PLAINTIFF is informed and believes, and thereon alleges, that at all relevant times herein, the
23
     DEFENDANTS carelessly, and negligently owned, rented, managed, leased, supervised, inspected,
24
     operated, maintained, and/or controlled the subject premises, such that it was in a dangerous, defective,
25
     and unsafe condition in conscious disregard for the risk of harm to the shoppers therein. By reason of
26
     said carelessness, negligence, and conscious disregard of the DEFENDANTS, and each of them, the
27   subject premises were unsafe and dangerous to shoppers, specifically to PLAINTIFF.
28




                                                   COMPLAINT - 4                EXHIBIT "1" - Page 8
 1      20. The DEFENDANTS, and each of them, failed to maintain safe conditions for customer transit
 2   within the subject premises, and as a direct result of said negligence, PLAINTIFF was injured when a
 3   box fell on her.
 4
        WHEREFORE, the PLAINTIFF prays for damages and other jurisdictional relief, as follows:
 5
        1. For actual damages according to proof;
 6
        2. For general damages according to proof;
 7
        3. For special damages according to proof;
 8
        4. For costs and expenses of suit; and
 9
        5. For such other and further relief as the Court deems just and proper.
10
11
12
13
14
        Dated: 6 June, 2022
15
16
                                                                 FARAHI LAW FIRM, APC
17                                                               By:
18
19
                                                                  4/
20                                                               ____________________________
21
                                                                 JUSTIN FARAHI, ESQ.
                                                                 Attorney for the Plaintiff
22                                                               LORENA VELAZQUEZ
23
24
25
26
27
28
                                                 COMPLAINT - 5
     Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.10 Page 10 of 53   EXHIBIT "1" - Page 9
     Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.11 Page 11 of 53



 1                                  DEMAND FOR JURY TRIAL
 2

 3     PLAINTIFF hereby demands for jury trial.
 4

 5     Dated: 6 June, 2022
 6

 7

 8

 9

10
                                                             FARAHI LAW FIRM, APC
11                                                           By:
12

13
                                                             ____________________________
14                                                           JUSTIN FARAHI, ESQ.
                                                             Attorney for the Plaintiff
15
                                                             LORENA VELAZQUEZ
16

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                                             COMPLAINT - 6             EXHIBIT "1" - Page 10
 Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.12 Page 12 of 53




 1 Justin Farahi (SBN 298086)                                             ELECTRotHCALLY FILED
                                                                           Superior Court of California,
   FARAHI LAW FIRM, APC                                                       County of San Diego
 2 12079 Jefferson Boulevard
                                                                           09/12/2022 at 08 :00:00 PM
   Los Angeles, California 90230
 3                                                                         Cleric of the Superior Court
   Telephone No. (310) 774-4500                                          Sy Malka Manneh , Deputy Cleric
 4 Fax No. (424) 295-0557

 5 Attorney for Plaintiff
   LORENA VELAZQUEZ
 6

 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                                       COUNTY OF SAN DIEGO

 9
     LORENA VELAZQUEZ, an Individual;                     CASE NO. 37-2022-00021526-CU-PO-CTL
10
                                         Plaintiffs,      FIRST AMENDED COMPLAINT FOR:
11                                                        1. GENERAL NEGLIGENCE;
                          vs.                             2. PREMISES LIABILITY; AND
12                                                        3. NEGLIGENT            HIRING,
     W ALMART      INC.,     A    DELAWARE                   SUPERVISION, OR RETENTION.
13
     CORPORATION; PROTEA PROPERTIES,
14   LLC, A DELAWARE CORPORATION;
     and DOES 1 through 50, Inclusive;
15
                                        Defendants.       DEMAND FOR JURY TRIAL
16
17

18        COMES NOW, Plaintiff LORENA VELAZQUEZ ("the PLAINTIFF"), an individual, and

19 for causes of action against Defendant WALMART INC. (WALMART) A DELAWARE

20 CORPORATION,             Defendant     PROTEA        PROPERTIES,          LLC,      A      DELAWARE

21   CORPORATION, and Defendants DOES 1 through 50, Inclusive ("the DEFENDANTS")

22 complains and alleges as follows:

23                                           THE PLAINTIFF

24        1.   At all times relevant herein, the PLAINTIFF is an individual residing at 1500 3rd Ave. # 18,

25   Chula Vista, CA 91911.

26 II

27 II

28

                                                    - l -
                                                 COMPLAINT
                                                                           EXHIBIT "2" - Page 11
 Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.13 Page 13 of 53




 1                                          THE DEFENDANTS

 2         2.   The PLAINTIFF is informed and believes and based thereon alleges that at all relevant

 3   times herein, Defendant W ALMART INC., is a Delaware corporation, with principal place of

 4 business at 702 Southwest 8th St., City of Bentonville, County of Benton. State of Arkansas.

 5         3.   The PLAINTIFF is informed and believes and based thereon alleges that at all relevant

 6   times herein, Defendant PROTEA PROPERTIES, LLC, is a Delaware Corporation with principal

 7 place of business at 3262 Holiday Court Ste 100, La Jolla, CA 92037.

 8         4.   The true names and capacities (whether individual, corporate, or otherwise) of Defendants

 9   DOES 1 through 50, inclusive, are unknown to the PLAINTIFF. The PLAINTIFF therefore sues

10 the said Defendants by such fictitious names pursuant to the California Code of Civil Procedure (CCP)

11   § 474. The PLAINTIFF further alleges that each fictitiously named Defendant is in some manner

12 responsible for the acts and occurrences alleged herein. The PLAINTIFF will seek leave to amend

13   this Complaint to allege the true names and capacities of Defendants DOES 1 through 50, inclusive,

14 when they are ascertained.

15         5.   The PLAINTIFF is informed and believes and based thereon, alleges that at all relevant

16 times herein, each of the named and fictitious Defendant identified in this Complaint was the agent,

17 partner, co-joint venturer, associate, and/or employee of one or more of the other Defendants, and

18 was acting in the course and scope of such agency, partnership, joint venture, association, and/or

19 employment when the acts giving rise to the causes of action occurred.

20         6.   The PLAINTIFF is informed and believes and based thereon alleges that W ALMART

21   INC., PROTEA PROPERTIES, LLC, A DELAWARE CORPORATION, and Defendants

22 DOES 1 through 50, inclusive, are legally responsible for the events and happenings herein referred

23   to, caused damage proximately and foreseeably to the PLAINTIFF, as alleged herein.

24         7.   All allegations in this Complaint are based on information and belief and/or are likely to

25   have evidentiary support after a reasonable opportunity for further investigation or discovery.

26   Whenever allegations in this Complaint are contrary or inconsistent, such allegations shall be deemed

27   alternative.

28

                                                      -2-
                                                 COMPLAINT
                                                                           EXHIBIT "2" - Page 12
 Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.14 Page 14 of 53




 1                                      VENUE AND JURISDICTION

 2         8.    Venue in this Court is appropriate as the incident and resulting injuries and damages to the

 3   PLAINTIFF occurred in the County of San Diego, State of California.

 4         9.    Jurisdiction is proper before this Honorable Court in that the amount in controversy is in

 5   excess $25,000.00 and thus an unlimited civil case.

 6                                       COMMON ALLEGATIONS

 7         10. The PLAINTIFF is informed and believes and thereon alleges, that at all relevant times

 8 herein, the Defendants are/were the owners, lessors, sub-lessors, managing agents, landlords,

 9   renters, managers, operators, marketers, inspectors, maintainers, and/or controllers, of the commercial

10 property located at Walmart, 75 Broadway, Chula Vista, CA 91910, County of San Diego, State of

11   California (the "Subject Premises").

12                                       FIRST CAUSE OF ACTION

13                                        GENERAL NEGLIGENCE

14                              (By PLAINTIFF against the DEFENDANTS)

15         11. PLAINTIFF hereby re-alleges and incorporates herein by reference each and every

16 allegation contained in the previous paragraphs, as though fully set forth herein.

17         12. PLAINTIFF alleges that, at all relevant times herein, Defendants W ALMART, INC.,

18 PROTEA PROPERTIES, LLC , and DOES 1 through 50, and each of them, had a legal duty own,

19 rent, manage, lease, supervise, inspect, operate, maintain, and/or control the Subject Premises in a

20   safe and operable conditions.

21         13. On June 12, 2020, when PLAINTIFF was lawfully on the Subject Premises to shop

22 thereat, a Walmart employee was carrying, moving, and/or transporting a packaged box of

23   considerable weight nearby PLAINTIFF, the said packaged box suddenly, and without warning, fell

24 unto the PLAINTIFF and caused PLAINTIFF to fall on the floor thereby causing bodily injuries

25   upon her.

26         14. That the aforesaid incident was due to the aforesaid negligence, carelessness, and

27 recklessness of W ALMART, INC., PROTEA PROPERTIES, LLC , and DOES 1 through 50,

28

                                                      -3-
                                                   COMPLAINT
                                                                             EXHIBIT "2" - Page 13
 Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.15 Page 15 of 53




 1 and each of them, as aforesaid, and as a direct and proximate result thereof, PLAINTIFF sustained

 2   the injuries as herein alleged.

 3         15. As a direct and proximate result of the negligence, carelessness, and recklessness of the

 4   Defendants, and each of them, as aforesaid, PLAINTIFF was hurt in her health, strength, and activity,

 5   sustaining severe shock and injuries to her person, all of which injuries have caused, continue to

 6   cause, and will in the future cause PLAINTIFF great physical and emotional pain and suffering.

 7         16. PLAINTIFF is informed and believes and, based thereon, alleges that the said injuries are

 8 permanent in nature, entitling PLAINTIFF to damages in a sum according to proof.

 9         17. As a direct and proximate result of the negligence, carelessness, and recklessness of the

10 Defendants and each of them, as aforesaid, PLAINTIFF has been required to obtain medical services,

11   and has suffered severe emotional distress.

12                                     SECOND CAUSE OF ACTION

13                                         PREMISES LIABILITY

14                              (By PLAINTIFF against the DEFENDANTS)

15         18. PLAINTIFF hereby re-alleges and incorporates herein by reference each and every

16 allegation contained in the previous paragraphs, as though fully set forth herein.

17         19. The PLAINTIFF hereby re-alleges and incorporates herein by reference each and every

18   allegation contained in the previous paragraphs, as though fully set forth herein.

19         20. On June 12, 2020, when PLAINTIFF was lawfully on the Subject Premises to shop

20 thereat, a Walmart employee was carrying, moving, and/or transporting a packaged box of

21   considerable weight nearby PLAINTIFF, the said packaged box suddenly, and without warning, fell

22 unto the PLAINTIFF and caused PLAINTIFF to fall on the floor thereby causing bodily injuries

23   upon her.

24         21. W ALMART, INC., PROTEA PROPERTIES, LLC, and DOES 1 through 50, and each

25   of them, fully and well knew, or should have known in the exercise of reasonable care, that the

26   structures and/or components and/or other parts of the subject premises were in a dangerous and

27 unsafe condition, and a menace to PLAINTIFF and others lawfully on the subject premises.

28

                                                      -4-
                                                   COMPLAINT
                                                                            EXHIBIT "2" - Page 14
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           22. By reason of the aforesaid negligence, carelessness, and recklessness of the Defendants,

 2   and each of them, as aforesaid, and as a direct and proximate result thereof, dangerous conditions

 3   in the Subject Premises caused PLAINTIFF to sustain the injuries as herein alleged.

 4         23. As a direct and proximate result of the negligence, carelessness, and recklessness of the

 5 Defendants, and each of them, as aforesaid, PLAINTIFF was hurt in her health, strength, and

 6   activity, sustaining severe shock and injuries to her person, all of which injuries have caused,

 7   continue to cause, and will in the future cause PLAINTIFF great physical and emotional pain and

 8   suffering.

 9         24. PLAINTIFF is informed and believes and, based thereon, alleges that the said injuries

10 are permanent in nature, entitling PLAINTIFF to damages in a sum according to proof.

11         25. As a direct and proximate result of the negligence, carelessness, and recklessness of the

12 Defendants and each of them, as aforesaid, PLAINTIFF has been required to obtain medical

13   services, and has suffered severe emotional distress.

14         26. PLAINTIFF is informed and believes and thereon alleges, that at all relevant times herein,

15   the WALMART, INC., PROTEA PROPERTIES, LLC, and DOES 1 through 50, carelessly, and

16 negligently owned, rented, managed, leased, supervised, inspected, operated, maintained, and/or

17 controlled the subject premises, such that it was in a dangerous, defective, and unsafe condition, in

18   disregard of the risk of harm to the shoppers therein. By reason of said carelessness, negligence, and

19 conscious disregard of the WALMART, INC., PROTEA PROPERTIES, LLC, and DOES 1

20   through 50, and each of them, the subject premises were unsafe and dangerous to shoppers,

21   specifically to PLAINTIFF.

22         27. The DEFENDANTS, and each of them, failed to maintain safe conditions for customer transit

23   within the subject premises, and as a direct result of said negligence, PLAINTIFF was injured when a box

24   suddenly and violently fell upon her.

25   II

26 II

27   II

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                                                       -5-
                                                  COMPLAINT
                                                                             EXHIBIT "2" - Page 15
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 1                                              TIDRD CAUSE OF ACTION:

 2                           NEGLIGENT HIRING, SUPERVISION, OR RETENTION

 3                                      (By PLAINTIFF against DEFENDANTS)

 4         28. PLAINTIFF re-alleges and incorporates by reference all of the allegations preceding

 5 paragraphs as though fully set forth herein.

 6         29. At all relevant times herein, WALMART, INC., PROTEA PROPERTIES, LLC, and

 7   DOES 1 through SO, and each of them, carelessly and negligently employed, selected, trained,

 8 maintained, retained, controlled, supervised, and/or managed their employees and/or agents.

 9         30. That, at all relevant times herein, the employees and/or agents of WALMART, INC.,

10 PROTEA PROPERTIES, LLC, and DOES 1 through SO, were or became unfit, incompetent,

11   unqualified, incapable, and/or unequipped to perform the tasks, duties, and responsibilities relative to

12 the safety training and procedures at the Subject Premises.

13         31. W ALMART, INC., PROTEA PROPERTIES, LLC, and DOES 1 through SO, and each

14 of them, knew or should have known its employees and/or agents were or became unfit, incompetent,

15   incapable, retained, unqualified, and/or unequipped, and such unfitness, incompetence, incapability,

16 and/or lack of qualifications or equipment caused a packaged box of considerable weight to fall upon

17   PLAINTIFF.

18         32. As a proximate result ofWALMART, INC., PROTEA PROPERTIES, LLC, and DOES

19   1 through SO's negligence in hiring, supervising, selecting, training, maintaining, controlling,

20   supervising, and/or managing of their employees and/or agents, and each of them, PLAINTIFF

21   suffered from great physical pain and suffering as well as severe emotional distress and other mental

22   lllJUnes.

23         33. As a further direct and proximate result of the negligence, carelessness, and recklessness,

24   of W ALMART, INC., PROTEA PROPERTIES, LLC, and DOES 1 through SO, PLAINTIFF

25   has been required to obtain medical services, past, present, and future ; has suffered loss of income

26   and earnings, past, present, and future.

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                                                       -6-
                                                   COMPLAINT
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 1      WHEREFORE, the PLAINTIFF prays for damages and other jurisdictional relief, as follows:

 2      1. For actual damages according to proof;

 3      2. For general damages according to proof;

 4      3. For special damages according to proof;

 5      4. For costs and expenses of suit; and

 6      5. For such other and further relief as the Court deems just and proper.

 7

 8      Dated: September 10, 2022

 9

10                                                             FARAHI LAW FIRM, APC

11                                                             By:

12

13
                                                              ~JUSTIN FARAH!, ESQ.
                                                               Attorney for Plaintiff
14                                                             LORENA VELAZQUEZ
15
                                    DEMAND FOR JURY TRIAL
16
         Plaintiff hereby demands for jury trial.
17

18
         Dated: September 10, 2022
19

20

21
                                                               FARAHI LAW FIRM, APC
22
                                                               By:
23
24

25
                                                               JUSTIN FARAH!, ESQ.
26                                                             Attorney for Plaintiff
                                                               LORENA VELAZQUEZ
27

28

                                                    -7-
                                                 COMPLAINT
                                                                         EXHIBIT "2" - Page 17
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                                          SUMMONS ON FIRST                                                                                           SUM-100
                                         AMENDED COMPLAINT                                                              FOR COURT USE ONLY
                                                                                                                     (SOLO PARA USO DE LA CORTE)
                                          (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:                                                                                           ELECTRONICALLY FILED
(AVISO AL DEMANDADO):                                                                                             Superior Court of California,
                                                                                                                     County of San Diego
 WALMART INC., a Delaware Corporation; PROTEA PROPERTIES,
 LLC, a Delaware Corporation; and DOES 1 through 50, Inclusive                                                    09/1212022 at 08:00:00 AM
                                                                                                                 Clerk of the Superior Court
 YOU ARE BEING SUED BY PLAINTIFF:                                                                              By Malka Manneh,Deputy Clerk
(LO ESTA DEMANDANDO EL DEMANDANTE):
  LORENA VELAZQUEZ,an Individual


   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  AVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaciOn a
  continuaci6n..
     Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legales para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefanica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correct° si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mas informacian en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pager la cuota de presentaci6n, pida al secretario de la corte
  que le de un formulario de exenciOn de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
  podra guitar su sueldo, dinero y bienes sin mas advertencia.
    Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
  remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
  programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contact° con la corte o el
  colegio de abogados locales. AVISO:Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
  cualquier recuperacian de $10,000 6 mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
 The name and address of the court is:                                                                    CASE NUMBER:
                             San Diego Superior Court
(El nombre y direccion de la corte es):                                                                  , 37-2022-00021526- CU-P 0- CTL
 330 W Broadway, San Diego, CA 92101

 The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direccion y el namero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
  Justin Farahi, Farahi Law Firm, APC, 12079 Jefferson Blvd, Los Angeles, California 902391(310)774-4500

 DATE:       09/2212022                                              Clerk, by                 . iletaCiP                                             , Deputy
(Fecha)                                                              (Secretario)                M. Manneh                                            (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1. F-1 as an individual defendant.
                                  2. -
                                     I  1 as the person sued under the fictitious name of (specify):


                                      3.= on behalf of (specify):

                                          under:= CCP 416.10 (corporation)                 -
                                                                                           I I CCP 416.60 (minor)
                                                -
                                                I I CCP 416.20 (defunct corporation)       -
                                                                                           I I CCP 416.70 (conservatee)
                                                -
                                                I I CCP 416.40 (association or partnership)-
                                                                                           I I CCP 416.90 (authorized person)
                                           -
                                           I    1 other (specify):
                                      4.= by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
  Form Adopted for Mandatory Use
    Judicial Council of California
                                                                       SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courtinfo.ca.gov
   SUM-100 [Rev. July 1, 2009]
                                                                                                                  EXHIBIT "3" - Page 18
Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.20 Page 20 of 53
                                                                     CT Corporation
                                                      Service of Process Notification
                                                                                                                   10/05/2022
                                                                                                      CT Log Number 542436248


  Service of Process Transmittal Summary

  TO:       KIM LUNDY- EMAIL
            Walmart Inc.
            GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
            BENTONVILLE, AR 72712-3148

  RE:       Process Served in California

  FOR:      WALMART INC. (Domestic State: DE)



  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                         Re: VELAZQUEZ LORENA, an Individual // To: WALMART INC.

  DOCUMENT(S) SERVED:                      Summons, Statement(s), Complaint, Attachment(s), Notice(s), Alternative Dispute
                                           Resolution, Stipulation
  COURT/AGENCY:                            San Diego County - Superior Court, CA
                                           Case # 37202200021526CUPOCTL
  NATURE OF ACTION:                        Personal Injury - Failure to Maintain Premises in a Safe Condition - 06/12/2020, Walmart
                                           located at 75 Broadway, Chula Vista, CA, 91910, CA
  PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

  DATE/METHOD OF SERVICE:                  By Process Server on 10/05/2022 at 11:10

  JURISDICTION SERVED:                     California

  APPEARANCE OR ANSWER DUE:                Within 30 days after service (Document(s) may contain additional answer dates)

  ATTORNEY(S)/SENDER(S):                   Justin Farahi
                                           Farahi Law Firm, APC
                                           12079 Jefferson Blvd.
                                           Los Angeles, CA 90239
                                           310-774-4500
  ACTION ITEMS:                            CT has retained the current log, Retain Date: 10/05/2022, Expected Purge Date:
                                           10/10/2022
                                           Image SOP

  REGISTERED AGENT CONTACT:                C T Corporation System
                                           330 N BRAND BLVD
                                           STE 700
                                           GLENDALE, CA 91203
                                           877-564-7529
                                           MajorAccountTeam2@wolterskluwer.com



  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
  and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
  information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
  included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT




                                                                                                                        Page 1 of 2



                                                                                               EXHIBIT "3" - Page 19
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                                                                     CT Corporation
                                                      Service of Process Notification
                                                                                                                      10/05/2022
                                                                                                         CT Log Number 542436248

  disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
  contained therein.




                                                                                                                           Page 2 of 2



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        Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.22 Page 22 of 53


                                                                    J.
                                                                         Wolters Kluwer

                          PROCESS SERVER DELIVERY DETAILS




Date:                                        Wed, Oct 5, 2022
Server Name:                                 Jennifer Shaouli




 Entity Served               WALMART INC.

 Case Number                 37 - 2022 - 00021526 - CU - PO - CTL

 J urisdiction               CA



                                                 Inserts




                                                                    EXHIBIT "3" - Page 21
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            1   Andrew N. Kohn, Esq., SBN 166385
                Allen Theweny, Esq., SBN 326032
            2   PETTIT KOHN INGRASSIA LUTZ & DOLIN PC
                11622 El Camino Real, Suite 300
            3   San Diego, California 92130-2051
                Tel: (858) 755-8500
            4   Fax: (858) 755-8504
                Email: akohn@pettitkohn.com
            5          atheweny@pettitkohn.com

            6   Attorneys for Defendant
                WALMART INC.
            7

            8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
            9                        COUNTY OF SAN DIEGO – CENTRAL DIVISION
        10      LORENA VELAZQUEZ, an Individual,                  Case No. 37-2022-00021526-CU-PO-CTL
        11                             Plaintiff,                 DEFENDANT WALMART INC.’S
                                                                  ANSWER TO PLAINTIFF’S FIRST
        12      v.                                                AMENDED COMPLAINT
        13      WALMART INC., a Delaware Corporation;             [IMAGED FILE]
                PROTEA PROPERTIES, LLC, a Delaware
        14      Corporation; and DOES 1 through 50,               Dept.:       C-64
                Inclusive,                                        Judge:       Honorable John S. Meyer
        15                                                        Filed:       June 6, 2022
                                       Defendants.                Trial:       Not set
        16

        17             Defendant WALMART INC. (“Defendant”), for its Answer to Plaintiff LORENA

        18      VELAZQUEZ’s (“Plaintiff”) First Amended Complaint on file herein, admits, denies and alleges

        19      as follows:

        20                                             GENERAL DENIAL

        21             Pursuant to the provisions of Code of Civil Procedure section 431.30, Defendant denies,

        22      generally and specifically, in the conjunctive and disjunctive, each and every cause of action and

        23      allegation contained in the First Amended Complaint, and the First Amended Complaint as a

        24      whole, and further generally and specifically denies that Plaintiff has sustained any loss, injury, or

        25      damage as a proximate result of any act, breach, or omission on the part of Defendant.

        26      ///

        27      ///

        28      ///
                                                                  1
2354-3424                                 DEFENDANT WALMART INC.’S ANSWER TO
                                   PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                     EXHIBIT "4" - Page 22
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            1                                      AFFIRMATIVE DEFENSES

            2                                  FIRST AFFIRMATIVE DEFENSE

            3                                    (Failure to State Cause of Action)

            4          As a first, separate, affirmative defense, Defendant alleges that the First Amended

            5   Complaint, and each and every cause of action or purported cause of action contained therein,

            6   fails to state facts sufficient to constitute a cause of action against Defendant.

            7                                 SECOND AFFIRMATIVE DEFENSE

            8                                                 (Estoppel)

            9          As a second, separate, affirmative defense, Defendant alleges Plaintiff, by her own acts

        10      and/or omissions, is estopped from recovering at all against Defendant.

        11                                     THIRD AFFIRMATIVE DEFENSE

        12                                     (Failure to Exercise Ordinary Care)
        13             As a third, separate, affirmative defense, Defendant alleges that, at all times and places
        14      alleged in the First Amended Complaint, Plaintiff failed to exercise ordinary and reasonable care
        15      on her own behalf and such negligence and carelessness was a proximate cause of some portion,
        16      up to and including the whole of, her own alleged injuries and damages, if any. Plaintiff’s
        17      recovery therefore should be barred or reduced according to law, up to and including the whole
        18      thereof.
        19                                    FOURTH AFFIRMATIVE DEFENSE
        20                                                     (Waiver)

        21             As a fourth, separate, affirmative defense, Defendant alleges Plaintiff, by her own acts

        22      and/or omissions, has waived her rights, if any, to recover against Defendant.

        23                                     FIFTH AFFIRMATIVE DEFENSE

        24                                         (Failure to Mitigate Damages)

        25             As a fifth, separate, affirmative defense, Defendant alleges Plaintiff has failed to mitigate

        26      her damages, if any, in connection with the matters referred to in the First Amended Complaint

        27      and that such failure to mitigate bars and/or diminishes Plaintiff’s recovery, if any, against

        28      Defendant.
                                                                   2
2354-3424                                 DEFENDANT WALMART INC.’S ANSWER TO
                                   PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                      EXHIBIT "4" - Page 23
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            1                                  SIXTH AFFIRMATIVE DEFENSE

            2                                              (Uncertainty)

            3          As a sixth, separate, affirmative defense, Defendant alleges the causes of action in the

            4   First Amended Complaint, and each of them, are uncertain and ambiguous as to Plaintiff’s claim

            5   for damages against Defendant.

            6                                SEVENTH AFFIRMATIVE DEFENSE

            7                                         (Statute of Limitations)

            8          As a seventh, separate, affirmative defense, Defendant alleges that the First Amended

            9   Complaint, and each and every cause of action or purported cause of action contained therein, is

        10      barred by all applicable statutes of limitation including, but not limited to, Code of Civil

        11      Procedure section 335.1, 337 and 343.

        12                                    EIGHTH AFFIRMATIVE DEFENSE

        13                                        (Exercise of Reasonable Care)
        14             As an eighth, separate, affirmative defense, Defendant alleges that, at all times relevant
        15      herein, Defendant exercised reasonable care and did not know, and in the exercise of reasonable
        16      care could not have known, of the alleged acts or allegations in connection with the conditions
        17      which are the subject of the First Amended Complaint.
        18                                     NINTH AFFIRMATIVE DEFENSE
        19                                            (Lack of Particularity)
        20             As a ninth, separate, affirmative defense, Defendant alleges that Plaintiff failed to

        21      particularize her claims, thereby depriving Defendant the ability to ascertain the true basis of

        22      Plaintiff’s claim, if any, and the law applicable to the claim.

        23                                    TENTH AFFIRMATIVE DEFENSE

        24                                                    (Laches)

        25             As a tenth, separate, affirmative defense, Defendant alleges that the causes of action

        26      contained in the First Amended Complaint, and each of them, are barred by the doctrine of laches,

        27      in that Plaintiff has unreasonably delayed in bringing these claims, and said delays have

        28      prejudiced Defendant.
                                                                  3
2354-3424                                 DEFENDANT WALMART INC.’S ANSWER TO
                                   PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                     EXHIBIT "4" - Page 24
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            1                              ELEVENTH AFFIRMATIVE DEFENSE

            2                                           (Obvious Danger)

            3          As an eleventh, separate, affirmative defense, Defendant alleges that Plaintiff failed to

            4   exercise reasonable and ordinary care, caution, or prudence for her own safety in order to avoid

            5   the alleged incident. The resulting injuries and damages, if any, sustained by Plaintiff were

            6   proximately caused and contributed to by the negligence of Plaintiff, in that any possible danger

            7   with regard to the incident in question was obvious to anyone using reasonable care.

            8                               TWELFTH AFFIRMATIVE DEFENSE

            9                                          (Assumption of Risk)

        10             As a twelfth, separate, affirmative defense, Defendant alleges that at all times herein

        11      mentioned, Plaintiff, with full knowledge of all risks attendant thereto, voluntarily and knowingly

        12      assumed any and all risks attendant upon her conduct, including any purported damages alleged

        13      to be related thereto and proximately caused thereby.

        14                                THIRTEENTH AFFIRMATIVE DEFENSE

        15                                         (Intervening Acts of Others)
        16             As a thirteenth, separate, affirmative defense, Defendant alleges that the injuries and
        17      damages sustained by Plaintiff, if any, were proximately caused by the intervening and
        18      superseding actions of others, which intervening and superseding actions bar and/or diminish
        19      Plaintiff’s recovery, if any, against Defendant.
        20                               FOURTEENTH AFFIRMATIVE DEFENSE

        21                                     (Res Judicata/Collateral Estoppel)

        22             As a fourteenth, separate, affirmative defense, Defendant alleges Plaintiff’s First

        23      Amended Complaint is barred by the doctrines of res judicata and/or collateral estoppel.

        24                                 FIFTEENTH AFFIRMATIVE DEFENSE

        25                                          (Comparative Negligence)

        26             As a fifteenth, separate, affirmative defense, Defendant alleges that Plaintiff was

        27      negligent, and otherwise at fault, with regard to the events alleged in the First Amended

        28      Complaint, and such negligence and fault is the proximate cause of any injuries or damages
                                                                4
2354-3424                                 DEFENDANT WALMART INC.’S ANSWER TO
                                   PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                    EXHIBIT "4" - Page 25
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            1   Plaintiff may incur. Accordingly, Plaintiff’s recovery, if any, should be precluded or reduced in

            2   proportion to her negligence and fault.

            3                              SIXTEENTH AFFIRMATIVE DEFENSE

            4                                             (Reimbursement)

            5          As a sixteenth, separate, affirmative defense, Defendant alleges that any reimbursement,

            6   from whatever source, to Plaintiff of the damages alleged must be applied against any liability of

            7   Defendant.

            8                            SEVENTEENTH AFFIRMATIVE DEFENSE

            9                           (Failure of Others to Exercise Reasonable Care)

        10             As a seventeenth, separate, affirmative defense, if Defendant is subjected to any liability

        11      herein, it will be due in whole, or in part, to the acts and/or omissions of other defendants or other

        12      parties unknown at this time, and any recovery obtained by Plaintiff should be barred or reduced

        13      according to law, up to and including the whole thereof.

        14                                EIGHTEENTH AFFIRMATIVE DEFENSE

        15                               (Several Liability for Non-Economic Damages)
        16             As an eighteenth, separate, affirmative defense, if Defendant has any liability to Plaintiff
        17      in this action, which is denied, it is only severally liable for Plaintiff’s non-economic damages
        18      under California Civil Code sections 1431.1 and 1431.2, and therefore request a judicial
        19      determination of the percentage of its negligence, if any, which proximately contributed to the
        20      subject incident.

        21                                NINETEENTH AFFIRMATIVE DEFENSE

        22                                                (Necessary Parties)

        23             As a nineteenth, separate, affirmative defense, Defendant alleges that Plaintiff has failed

        24      to properly join all parties which are necessary or indispensable to this action in accordance with

        25      the California Code of Civil Procedure.

        26      ///

        27      ///

        28      ///
                                                                  5
2354-3424                                  DEFENDANT WALMART INC.’S ANSWER TO
                                    PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                     EXHIBIT "4" - Page 26
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            1                              TWENTIETH AFFIRMATIVE DEFENSE

            2                            (No Constructive Notice of Dangerous Condition)

            3           As a twentieth, separate, affirmative defense, Defendant alleges that the First Amended

            4   Complaint, and each and every cause of action alleged therein, is barred by the fact that

            5   Defendant did not have constructive notice of the allegedly unsafe conditions on the premises.

            6                             TWENTY-FIRST AFFIRMATIVE DEFENSE

            7                                          (Acts of Other Parties)

            8           As a twenty-first, separate, affirmative defense, Defendant alleges that, if it is subjected to

            9   any liability by Plaintiff herein, it will be due in whole or in part to the acts and/or omissions of

        10      other parties, or parties unknown at this time, and any recovery obtained by Plaintiff should be

        11      barred or reduced according to law, up to and including the whole thereof.

        12                               TWENTY-SECOND AFFIRMATIVE DEFENSE

        13                                             (Additional Defenses)
        14              As a twenty-second, separate, affirmative defense, Defendant alleges that it may have
        15      additional defenses that cannot be articulated due to Plaintiff’s failure to particularize her claims,
        16      due to the fact that Defendant does not have copies of certain documents bearing on Plaintiff’s
        17      claims and due to Plaintiff’s failure to provide more specific information concerning the nature of
        18      the damage claims and claims for certain costs for which Plaintiff alleges that Defendant may
        19      share some responsibility. Defendant therefore reserves the right to assert additional defenses
        20      upon further particularization of Plaintiff’s claims, upon examination of the documents provided,

        21      upon discovery of further information concerning the alleged damage claims and claims for costs,

        22      and upon the development of other pertinent information.

        23                               TWENTY-THIRD AFFIRMATIVE DEFENSE

        24                                           (Right to Amend Answer)

        25              As a twenty-third, separate affirmative defense, Defendant reserves the right to amend its

        26      answer herein, including the addition of affirmative defenses after pleading and discovery in

        27      preparation for trial.

        28      ///
                                                                   6
2354-3424                                  DEFENDANT WALMART INC.’S ANSWER TO
                                    PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                      EXHIBIT "4" - Page 27
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            1          WHEREFORE, Defendant WALMART INC. prays for judgment against Plaintiff

            2   LORENA VELAZQUEZ as follows:

            3          1.      That Plaintiff take nothing by way of her First Amended Complaint;

            4          2.      That judgment be entered against Plaintiff and in favor of Defendant on all causes

            5   of action;

            6          3.      That Defendant be awarded attorneys’ fees and costs of suit incurred herein; and

            7          4.      That Defendant be awarded such other and further relief as the Court may deem

            8   just and proper.

            9                                               PETTIT KOHN INGRASSIA LUTZ & DOLIN PC

        10

        11      Dated: November 3, 2022                     By___________________________________
                                                                  Andrew N. Kohn, Esq.
        12                                                        Allen Theweny, Esq.
                                                                  Attorneys for Defendant
        13                                                        WALMART INC.
        14

        15

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                                                                7
2354-3424                                 DEFENDANT WALMART INC.’S ANSWER TO
                                   PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                  EXHIBIT "4" - Page 28
        Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.30 Page 30 of 53



            1                                     PROOF OF SERVICE
                                           Lorena Velazquez v. Walmart Inc., et al.
            2              San Diego County Superior Court Case No. 37-2022-00021526-CU-PO-CTL

            3          I, the undersigned, declare that:

            4          I am and was at the time of service of the papers herein, over the age of eighteen (18)
                years and am not a party to the action. I am employed in the County of San Diego, California and
            5   my business address is 11622 El Camino Real, Suite 300, San Diego, California 92130.

            6          On November 3, 2022, I caused to be served the following documents:

            7          •   DEFENDANT WALMART INC.’S ANSWER TO PLAINTIFF’S FIRST
                           AMENDED COMPLAINT
            8
                [X]    BY ELECTRONIC DELIVERY (Code Civ. Proc. § 1010.6 and Cal. Rules of Court,
            9          rule 2.251): Based on an agreement between the parties to accept service by e-mail or
                       electronic transmission, I caused such document(s) to be electronically served to those
        10             parties listed below from e-mail address spalmer@pettitkohn.com. The file transmission
                       was reported as complete and a copy of the Service Receipt will be maintained with the
        11             original document(s) in our office.
        12      Justin Farahi, Esq.
                Farahi Law Firm, APC
        13      12079 Jefferson Boulevard
                Los Angeles, California 90239
        14      Tel: (310) 774-4500
                Fax: (424) 295-0557
        15      Email: justin@farahilaw.com
                        harold@farahilaw.com
        16              jaqueline@farahilaw.com
                        kristoffer@farahilaw.com
        17      Attorneys for Plaintiff Lorena Velazquez
        18             I declare under penalty of perjury under the laws of the State of California that the
                foregoing is true and correct.
        19
                       Executed on November 3, 2022, at San Diego, California.
        20

        21
                                                              ________________________________________
        22                                                    Sharon B. Palmer

        23

        24

        25

        26

        27

        28
                                                                 8
2354-3424                                 DEFENDANT WALMART INC.’S ANSWER TO
                                   PLAINTIFF’S FIRST AMENDED FIRST AMENDED COMPLAINT
                                                                                    EXHIBIT "4" - Page 29
Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.31 Page 31 of 53




     Justin Farahi (State Bar No. 298086)
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   Los Angeles, CA 90230
 3 Tel: (310) 774-4500
   Fax: (424) 295-0557
 4
     Attorney for Plaintiff
 5 LORENA VELAZQUEZ
 6
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                    FOR THE COUNTY OF SAN DIEGO ± CENTRAL DIVISION
 8
 9 LORENA VELAZQUEZ, an individual,                        Case No.: 37-2022-00021526-CU-PO-CTL
10                            Plaintiff,
                                                           LORENA VELAZQUEZ¶ RESPONSES
11                                                         TO DEFENDANT WALMART, INC.¶S
     vs.
                                                           FORM INTERROGATORIES, SET
12                                                         ONE (1)
     WALMART, INC., a Delaware Corporation;
13 PROTEA PROPERTIES, LLC, a Delaware                      Judge: Hon. John S. Meyer
     Corporation; and DOES 1 through 50, Inclusive,        Dept.: C-64
14                                                         Complaint: August 6, 2021
                              Defendants.                  Trial: Not set
15
16
17
     PROPOUNDING PARTY:                          DEFENDANT WALMART, INC.
18
     RESPONDING PARTY:                           PLAINTIFF LORENA VELAZQUEZ
19
     SET NO.:                                    ONE (1)
20
            Pursuant to California Code of Civil Procedure §§ 2030.210 ± 2030.310, LORENA
21
     VELAZQUEZ (³Respondent´), hereby provides this objection and response to Defendant
22
     WALMART, INC.¶s (³Proponent´) Form Interrogatories, Set One (1).
23
                                           GENERAL OBJECTIONS
24
            Respondent makes the following general objections to each of Proponent¶s requests.
25
     These general objections are specifically incorporated into all of the enumerated responses
26
     reflected hereinafter:
27
28                                                 -1-
       LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                         SET ONE (1)
                                                                     EXHIBIT "5" - Page 30
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 1 FORM INTERROGATORY NO. 2.2:
 2          2.2    State the date and place of your birth.

 3 RESPONSE TO FORM INTERROGATORY NO. 2.2:
 4          2.2    Tijuana, Baja California, Mexico. June 9, 1969.

 5 FORM INTERROGATORY NO. 2.3:
 6          2.3    At the time of the INCIDENT, did you have a driver¶s license? If so state:

 7                 (a) the state or other issuing entity;

 8                 (b) the license number and type;

 9                 (c) the date of issuance; and

10                 (d) all restrictions.

11 RESPONSE TO FORM INTERROGATORY NO. 2.3:
12          2.3    Objection: This request/interrogatory calls for information not relevant to the

13 subject matter of this action nor to the discovery of admissible evidence. (Deaile v. Gen¶l
14 Telephone, 40 Cal. App. 3d 841 (1974)).
15 FORM INTERROGATORY NO. 2.4:
16          2.4    At the time of the INCIDENT, did you have any other permit or license for the

17                 operation of a motor vehicle? If so state:

18                 (a) the state or other issuing entity;
19                 (b) the license number and type;

20                 (c) the date of issuance; and

21                 (d) all restrictions.

22 RESPONSE TO FORM INTERROGATORY NO. 2.4:
23         2.4    Objection: This request/interrogatory calls for information not relevant to the subject

24 matter of this action nor to the discovery of admissible evidence. (Deaile v. Gen¶l Telephone, 40
25 Cal. App. 3d 841 (1974)).
26 FORM INTERROGATORY NO. 2.5:
27          2.5    State:

28                                                     -4-
       LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                         SET ONE (1)
                                                                         EXHIBIT "5" - Page 31
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 1                (a) your present residence ADDRESS;

 2                (b) your residence ADDRESSES for the past five years; and

 3                (c) the dates you lived at each ADDRESS.

 4 RESPONSE TO FORM INTERROGATORY NO. 2.5:
 5          2.5   (a) ± (b) 1500 3rd Avenue, SPC 18, Chula Vista, CA 91911.

 6                (c) 2010 - Present

 7 FORM INTERROGATORY NO. 2.6:
 8          2.6   State:

 9                (a) the name, ADDRESS, and telephone number of your present employer or place

10                of self-employment; and

11                (b) the name, ADDRESS, dates of employment, job title, and nature of work for

12                each employer or self-employment you have had from five years before the

13                INCIDENT until today.

14 RESPONSE TO FORM INTERROGATORY NO. 2.6:
15          2.6   Not applicable.

16 FORM INTERROGATORY NO. 2.7:
17          2.7   (a) the name and ADDRESS of each school or other academic or vocational

18                institution you have attended, beginning with high school
19                (b) the dates you attended;

20                (c) the highest grade level you have completed; and

21                (d) the degrees received.

22 RESPONSE TO FORM INTERROGATORY NO. 2.7:
23          2.7   (a) Chula Vista Adult School. 1034 4th Ave, Chula Vista, CA 91911.

24                (b) 2010 - 2012

25                (c) Second year

26                (d) Pastry associate degree

27 //
28                                                -5-
        LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                          SET ONE (1)
                                                                        EXHIBIT "5" - Page 32
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 1 FORM INTERROGATORY NO. 4.1:
 2        4.1   At the time of the INCIDENT, was there in effect any policy of insurance through

 3              which you were or might be insured in any manner (for example, primary, pro-rata,

 4              or excess liability coverage or medical expense coverage) for the damages, claims,

 5              or actions that have arisen out of the INCIDENT? If so, for each policy state:

 6              (a) the kind of coverage;

 7              (b) the name and ADDRESS of the insurance company;

 8              (c) the name, ADDRESS, and telephone number of each named insured;

 9              (d) the policy number;

10              (e) the limits of coverage for each type of coverage contained in the policy;

11              (f) whether any reservation of rights or controversy or coverage dispute exists

12              between you and the insurance company; and

13              (g) the name, ADDRESS, and telephone number of the custodian of the policy

14 RESPONSE TO FORM INTERROGATORY NO. 4.1:
15        4.1   No.

16 FORM INTERROGATORY NO. 4.2:
17        4.2   Are you self-insured under any statute for the damages, claims, or actions that have

18              arisen out of the INCIDENT? If so, specify the statute.
19 RESPONSE TO FORM INTERROGATORY NO. 4.2:
20        4.2   No.

21 FORM INTERROGATORY NO. 6.1:
22        6.1   Do you attribute any physical, mental, or emotional injuries to the INCIDENT?

23 RESPONSE TO FORM INTERROGATORY NO. 6.1:
24        6.1   Yes.

25 FORM INTERROGATORY NO. 6.2:
26        6.2   Identify each injury you attribute to the INCIDENT and the area of your body

27              affected.

28                                               -8-
     LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                       SET ONE (1)
                                                                     EXHIBIT "5" - Page 33
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 1 RESPONSE TO FORM INTERROGATORY NO. 6.2:
 2          6.2     Respondent objects to this interrogatory on the grounds that the interrogatory calls

 3 for an expert¶s opinion from a lay witness; consequently, the interrogatory is oppressive, harassing
 4 and without a foundational showing of competency. Since Respondent is not a physician,
 5 Respondent is not qualified to state the exact nature of her injuries.
 6          Subject to and without waiving the foregoing objections, Respondent responds as follows:

 7          1.      Mild traumatic brain injury

 8          2.      Post-concussion syndrome and mild traumatic brain injury

 9          3.      Post-concussion/traumatic headaches with migraine-type features.

10          4.      Post-concussion syndrome

11          5.      Memory dysfunction and concentration difficulty due to brain concussion

12          6.      Headaches

13          7.      Dizziness and giddiness

14          8.      Insomnia, unspecified

15          9.      Lower back pain likely due to muscle sprain/strain; however, the possibility of left

16          L5-S1 radiculopathy cannot be excluded.

17          10.     Lumbar disc tearing/protrusion with persistent pain

18          11.     Low back pain with multilevel disc protrusion, which is significant at L3-L4.
19          12.     L3-4 microdiscectomy p/w lateral/anterior thigh pain/numbness.

20          13.     Lumbar radiculopathy

21          14.     Low back pain;

22          15.     Lumbar Strain

23          16.     Lumbar disc herniation

24          17.     Lumbar disc tear

25          18.     Pain in unspecified ankle and joint

26          19.     Cervicalgia likely due to severe muscle sprain/strain; however, the possibility of

27          left C5-C6 and left C6-C7 radiculopathy cannot be excluded.

28                                                   -9-
      LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                        SET ONE (1)
                                                                            EXHIBIT "5" - Page 34
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 1        20.   Cervicalgia,

 2        21.   Cervical disc herniation

 3        22.   Cervical stenosis

 4        23.   Cervical strain

 5        24.   Left ankle injury with persistently painful medial talar dome osteochondral injury.

 6        25.   Left ankle osteochondral defect with bone cysts

 7        26.   Left osteochondritis dissecans lesion of the talus

 8        27.   Left ankle trauma

 9        28.   Left ankle talofibular ligament strain

10        29.   Left ankle strain

11        30.   Acute fall, acute contusion,

12        31.   Acute ankle sprain

13        32.   Left knee ACL tear

14        33.   Left knee meniscus tear

15        34.   Left knee strain

16        35.   Pain in right knee

17        36.   Left knee trauma

18        37.   Left hip strain
19        38.   Left hip bursitis

20        39.   Left hip quadratus femoris tear

21        40.   Thoracic strain

22        41.   Left shoulder strain

23        42.   Left shoulder tendinosis/bursitis

24        43.   Left shoulder rotator cuff tear

25        44.   Left shoulder trauma

26        45.   Pain in left shoulder;

27        46.   Pain in left arm

28                                                  -10-
     LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                       SET ONE (1)
                                                                     EXHIBIT "5" - Page 35
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 1          47.    Major depressive disorder

 2          48.    Generalized anxiety disorder

 3          49.    Insomnia and sleep disturbances following the accident.

 4          50.    Anxiety following the accident

 5          51.    Symptoms of depression, fatigue, and mood changes following the accident.

 6          52.    Anxiety disorder, unspecified

 7          53.    Insomnia and sleep disturbances

 8          54.    Depression

 9          55.    Acute extremity injury

10          56.    Acute pain due to trauma;

11          57.    Status post fall and closed head trauma in June 2020.

12
             As treatment, investigation and discovery are still ongoing. Respondent reserves the right
13
     to supplement or amend this response if additional, responsive, non-privileged information
14
     becomes available.
15
16 FORM INTERROGATORY NO. 6.3:
17          6.3    Do you still have any complaints that you attribute to the INCIDENT? If so, for

18                 each complaint state:

19                 (a) a description;

20                 (b) whether the complaint is subsiding, remaining the same, or becoming worse;

21                 (c) the frequency and duration.

22 RESPONSE TO FORM INTERROGATORY NO. 6.3:
23          6.3.   (a) Headaches.

24                 (b) Becoming worse.

25                 (c) Constantly during the week.

26
27                 (a) Dizziness.

28                                                   -11-
      LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                        SET ONE (1)
                                                                       EXHIBIT "5" - Page 36
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 1         (a) No. 51

 2         (b) PLAINTIFF sustained serious injuries as a result of the INCIDENT, PLAINTIFF was

 3             unable to seek livelihood a result of this injuries and the corresponding continuing

 4             medical treatment.

 5         (c) PLAINTIFF Lorena Velazquez. 1500 3rd Avenue, SPC 18, Chula Vista, CA 91911.

 6         (d) As investigation and discovery are ongoing, the Responding Party reserves the right to

 7             amend said response if additional, responsive, non-privileged information becomes

 8             available.

 9
10         (a) No. 52, 53, 54, 55

11         (b) PLAINTIFF suffered serious and debilitating injuries. These injuries rendered

12             PLAINTIFF no longer as able to perform work as efficient as before, prior to the

13             incident.

14         (c) PLAINTIFF Lorena Velazquez. 1500 3rd Avenue, SPC 18, Chula Vista, CA 91911.

15         (d) As investigation and discovery are ongoing, the Responding Party reserves the right to

16             amend said response if additional, responsive, non-privileged information becomes

17             available.

18
19
     Dated: December 20, 2022                                 FARAHI LAW FIRM, APC
20
21
                                                          By: _____________________________
22                                                                     Justin Farahi
                                                                   Attorney for Plaintiff
23                                                                LORENA VELAZQUEZ
24
25
26
27
28                                                 -50-
      LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES
                                        SET ONE (1)
                                                                        EXHIBIT "5" - Page 37
Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.39 Page 39 of 53




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 4
     Attorney for Plaintiff
 5 LORENA VELAZQUEZ
 6
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                    FOR THE COUNTY OF SAN DIEGO – CENTRAL DIVISION
 8
 9 LORENA VELAZQUEZ, an individual,                        Case No.: 37-2022-00021526-CU-PO-CTL
10
                              Plaintiff,
11                                                         VERIFICATION - LORENA
     vs.                                                   VELAZQUEZ RESPONSES TO
12                                                         DEFENDANT WALMART, INC.’S
                                                           FORM INTERROGATORIES SET
13 WALMART, INC., a Delaware Corporation;                  ONE (1)
   PROTEA PROPERTIES, LLC, a Delaware
14 Corporation; and DOES 1 through 50, Inclusive,          Judge: Hon. John S. Meyer
                                                           Dept.: C-64
15                            Defendants.                  Complaint: August 6, 2021
                                                           Trial: Not set
16
17
18
                                            VERIFICATION
19
                    I, LORENA VELAZQUEZ, declare:
20
21          1.      With the assistance of my attorney, I have read the document entitled: PLAINTIFF

22 LORENA VELAZQUEZ’ RESPONSES TO DEFENDANT WALMART, INC.’S SPECIAL
23 FORM, SET ONE (1), as prepared by my attorneys.
24          2.      I am a party in this action. This information necessary to prepare the responses
25 includes facts personally known to me and matters which I believe to be true, and the responses
26 were prepared with the advice and assistance of legal counsel.
27
            3.      Accordingly, I rely on my knowledge, and upon my attorneys and their agents for
28                                                -1-
       VERIFICATION OF LORENA VELAZQUEZ’ RESPONSES TO DEFENDANT WALMART, INC.’S FORM
                                 INTERROGATORIES SET ONE (1)
                                                                      EXHIBIT "5" - Page 38
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 1 the accuracy of some of the information stated in the responses, and on the basis thereof, I am
 2 informed and believe that the matters stated therein are true and correct.
 3          I declare under penalty of perjury under the laws of the State of California that the foregoing

 4 is true and correct.
 5          Executed on December 20, 2022, at Los Angeles, California.

 6
 7
                                                                       ii ____________________
                                                                          LORENA VELAZQUEZ
                                                                           Plaintiff/Respondent
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 9
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28                                                    -2-
       VERIFICATION OF LORENA VELAZQUEZ’ RESPONSES TO DEFENDANT WALMART, INC.’S FORM
                                 INTERROGATORIES SET ONE (1)
                                                                          EXHIBIT "5" - Page 39
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                                              PROOF OF SERVICE
 1
 2           I am employed in the County of Los Angeles, State of California. I am over the age of 18
 3 years, and not a party to this action. My business address is 12079 Jefferson Boulevard, Los
 4 Angeles, California 90230
 5           On December 20, 2022, I served the following document or documents:
 6
             1.  VERIFICATION - LORENA VELAZQUEZ RESPONSES TO
 7           DEFENDANT WALMART, INC.¶S FORM INTERROGATORIES SET ONE (1)
 8           2.    LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART,
             INC.¶S REQUEST FOR FORM INTERROGATORIES, SET ONE (1)
 9
10
     տ By fax transmission. Based on an agreement of the parties to accept service by fax
11
         transmission, I faxed the documents to the persons at the fax numbers listed below. No error
12       was reported by the fax machine that I used. A copy of the record of the fax transmission,
13       which is printed out, is attached.
14 տ By United States mail. I enclosed the documents in a sealed envelope or package addressed
15       to the persons at the address listed below (specify one):

16       տ Deposited the sealed envelope with the United States Postal Service, with the postage fully
            prepaid.
17
         տ Placed the envelope for collection and mailing, following our ordinary business practices. I
18
            am readily familiar with the business¶s practices for collecting and processing
19
            correspondence for mailing. On the same day that correspondence is placed for collection
20          and mailing, it is deposited in the ordinary course of business with the United States Postal
21          Service, in a sealed envelope with postage fully prepaid.
22       I am a resident or employed in the county where mailing occurred. The envelope or package
         was placed in the mail at Los Angeles, California.
23
     տ By personal service. I personally delivered the documents to the persons at the addresses
24
         listed below. (1) For a party represented by an attorney, the delivery was made to the attorney
25
         or at the attorney¶s office by leaving all the documents in an envelope or package that was
26       clearly labeled to identify the attorney being served with a receptionist or an individual in
27       charge of the office. (2) For a party, delivery was made to the party or by leaving the

28       documents at the party¶s residence with some person not less than 18 years of age between the

                                                       -i-
     P




                                                                          EXHIBIT "5" - Page 40
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          hours of eight in the morning and six in the evening.
 1
     ց By e-mail or electronic transmission. Based on a court order or an agreement of the parties
 2
 3 to accept service by e-mail or electronic transmission, I caused the documents to be sent to the
          person at the e-mail addresses listed below. I did not receive, within a reasonable time after
 4
          the transmission, any electronic message or other indication that the transmission was
 5        unsuccessful.
 6
                                                SERVICE LIST
 7
         ALLEN THEWENY, ESQ.                              Counsel for Defendant Walmart, Inc.
 8       PETIT KOHN INGRASSIA LUTZ & DOLIN
 9       11622 El Camino Real, #300
         San Diego, CA 92130
10       Tel: (858) 755-8500
         Fax: (858) 755-8504
11       Email: atheweny@pettitkohn.com
12   ‫܈‬       (State)         I declare under penalty of perjury under the laws of the State of California
     that the above is true and correct.
13
14   ‫܆‬     (Federal)     I declare under penalty of perjury that I am employed in the office of a
   member of the bar of this court at whose direction the service was made, and that the foregoing is
15 true and correct.
16            Executed on December 20, 2022, at Los Angeles, California
17
18
                                                                   ft
                                                                      Alice Ventura
19
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                                                       -ii-
     P




                                                                          EXHIBIT "5" - Page 41
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 4
     Attorney for Plaintiff
 5 LORENA VELAZQUEZ
 6
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                    FOR THE COUNTY OF SAN DIEGO ± CENTRAL DIVISION
 8
 9 LORENA VELAZQUEZ, an individual,                        Case No.: 37-2022-00021526-CU-PO-CTL
10                            Plaintiff,
                                                           LORENA VELAZQUEZ¶ RESPONSES
11                                                         TO DEFENDANT WALMART, INC.¶S
     vs.
                                                           REQUEST FOR ADMISSIONS SET
12                                                         ONE (1)
     WALMART, INC., a Delaware Corporation;
13 PROTEA PROPERTIES, LLC, a Delaware                      Judge: Hon. John S. Meyer
     Corporation; and DOES 1 through 50, Inclusive,        Dept.: C-64
14                                                         Complaint: August 6, 2021
                              Defendants.                  Trial: Not set
15
16
17
     PROPOUNDING PARTY:                          DEFENDANT WALMART, INC.
18
     RESPONDING PARTY:                           PLAINTIFF LORENA VELAZQUEZ
19
     SET NO.:                                    ONE (1)
20
            Pursuant to California Code of Civil Procedure §§ 2030.210 ± 2030.310, LORENA
21
     VELAZQUEZ (³Respondent´), hereby provides this objection and response to Defendant
22
     WALMART, INC.¶s (³Proponent´) Requests for Admissions, Set One (1).
23
                                           GENERAL OBJECTIONS
24
            Respondent makes the following general objections to each of Proponent¶s requests.
25
     These general objections are specifically incorporated into all of the enumerated responses
26
     reflected hereinafter:
27
28                                                 -1-
      LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S REQUEST FOR ADMISSIONS
                                        SET ONE (1)
                                                                     EXHIBIT "6" - Page 42
Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.44 Page 44 of 53




 1 REQUEST FOR ADMISSION NO. 51:
 2        Admit that YOU did not incur past wage loss as a result of the INCIDENT.

 3 RESPONSE TO REQUEST FOR ADMISSION NO. 51
 4        Denied.

 5 REQUEST FOR ADMISSION NO. 52:
 6        Admit that YOU will not incur future wage loss as a result of the INCIDENT.

 7 RESPONSE TO REQUEST FOR ADMISSION NO. 52:
 8        Denied.

 9 REQUEST FOR ADMISSION NO. 53:
10        Admit YOU have no loss of earning capacity as a result of the INCIDENT.

11 RESPONSE TO REQUEST FOR ADMISSION NO. 53:
12        Denied.

13 REQUEST FOR ADMISSION NO. 54:
14        Admit that YOU suffered no loss of earning power as a result of the INCIDENT.

15 RESPONSE TO REQUEST FOR ADMISSION NO. 54:
16        Denied.

17 REQUEST FOR ADMISSION NO. 55:
18        Admit that YOU have not missed any time at YOUR work as a result of the INCIDENT.
19 RESPONSE TO REQUEST FOR ADMISSION NO. 55:
20        Denied.

21 REQUEST FOR ADMISSION NO. 56:
22        Admit that you are a citizen of the State of California.

23 RESPONSE TO REQUEST FOR ADMISSION NO. 56:
24        Admitted.

25 REQUEST FOR ADMISSION NO. 57:
26        Admit that your permanent residence is in California.

27 RESPONSE TO REQUEST FOR ADMISSION NO. 57:
28                                                 -13-
     LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S REQUEST FOR ADMISSIONS
                                       SET ONE (1)
                                                                     EXHIBIT "6" - Page 43
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 1         Admitted.

 2 REQUEST FOR ADMISSION NO. 58:
 3         Admit that you are seeking damages in excess of $75,000.

 4 RESPONSE TO REQUEST FOR ADMISSION NO. 58:
 5         Admitted.

 6
 7
     Dated: December 20, 2022                               FARAHI LAW FIRM, APC
 8
 9
10                                                      By: _____________________________
                                                                     Justin Farahi
11                                                               Attorney for Plaintiff
                                                                LORENA VELAZQUEZ
12
13
14
15
16
17
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21
22
23
24
25
26
27
28                                               -14-
      LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART, INC.¶S REQUEST FOR ADMISSIONS
                                        SET ONE (1)
                                                                      EXHIBIT "6" - Page 44
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     Justin Farahi (State Bar No. 298086)
 1 FARAHI LAW FIRM, APC
 2 12079 Jefferson Boulevard
     Los Angeles, CA 90230
 3 Tel: (310) 774-4500
     Fax: (424) 295-0557
 4
     Attorney for Plaintiff
 5 LORENA VELAZQUEZ
 6
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                    FOR THE COUNTY OF SAN DIEGO – CENTRAL DIVISION
 8
 9 LORENA VELAZQUEZ, an individual,                        Case No.: 37-2022-00021526-CU-PO-CTL
10
                              Plaintiff,
11                                                         VERIFICATION - LORENA
     vs.                                                   VELAZQUEZ RESPONSES TO
12                                                         DEFENDANT WALMART, INC.’S
                                                           REQUEST FOR ADMISSIONS SET
13 WALMART, INC., a Delaware Corporation;                  ONE (1)
   PROTEA PROPERTIES, LLC, a Delaware
14 Corporation; and DOES 1 through 50, Inclusive,          Judge: Hon. John S. Meyer
                                                           Dept.: C-64
15                            Defendants.                  Complaint: August 6, 2021
                                                           Trial: Not set
16
17
18
                                            VERIFICATION
19
                    I, LORENA VELAZQUEZ, declare:
20
21          1.      With the assistance of my attorney, I have read the document entitled: PLAINTIFF

22 LORENA VELAZQUEZ’ RESPONSES TO DEFENDANT WALMART, INC.’S REQUEST
23 FOR ADMISSION, SET ONE (1), as prepared by my attorneys.
24          2.      I am a party in this action. This information necessary to prepare the responses
25 includes facts personally known to me and matters which I believe to be ture, and the responses
26 were prepared with the advice and assistance of legal counsel.
27
            3.      Accordingly, I rely on my knowledge, and upon my attorneys and their agents for
28                                                -1-
      VERIFICATION OF LORENA VELAZQUEZ’ RESPONSES TO DEFENDANT WALMART, INC.’S REQUEST
                                  FOR ADMISSIONS SET ONE (1)
                                                                      EXHIBIT "6" - Page 45
 1 the accuracy of some of the information stated in the responses, and on the basis thereof, I am
 2 informed and believe that the matters stated therein are true and correct.
 3          I declare under penalty of perjury under the laws of the State of California that the foregoing
 4 is true and correct.
 5          Executed on December 20, 2022, at Los Angeles, California.
 6
                                                                        ff
                                                                          ____________________
 7                                                                        LORENA VELAZQUEZ
                                                                           Plaintiff/Respondent
 8
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28                                                    -2-
     VERIFICATION OF LORENA VELAZQUEZ’ RESPONSES TO DEFENDANT WALMART, INC.’S REQUEST
                                 FOR ADMISSIONS SET ONE (1)
Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.47 Page 47 of 53
                                                                          EXHIBIT "6" - Page 46
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                                              PROOF OF SERVICE
 1
 2           I am employed in the County of Los Angeles, State of California. I am over the age of 18
 3 years, and not a party to this action. My business address is 12079 Jefferson Boulevard, Los
 4 Angeles, California 90230
 5           On December 20, 2022, I served the following document or documents:
 6
             1.  VERIFICATION - LORENA VELAZQUEZ RESPONSES TO
 7           DEFENDANT WALMART, INC.¶S REQUEST FOR ADMISSIONS SET ONE (1)
 8           2.    LORENA VELAZQUEZ¶ RESPONSES TO DEFENDANT WALMART,
             INC.¶S REQUEST FOR ADMISSIONS SET ONE (1)
 9
10
     ‫ ܆‬By fax transmission. Based on an agreement of the parties to accept service by fax
11       transmission, I faxed the documents to the persons at the fax numbers listed below. No error
12       was reported by the fax machine that I used. A copy of the record of the fax transmission,
13       which is printed out, is attached.
     ‫ ܆‬By United States mail. I enclosed the documents in a sealed envelope or package addressed
14
         to the persons at the address listed below (specify one):
15
         տ Deposited the sealed envelope with the United States Postal Service, with the postage fully
16
            prepaid.
17       ‫ ܆‬Placed the envelope for collection and mailing, following our ordinary business practices. I
18          am readily familiar with the business¶s practices for collecting and processing
19          correspondence for mailing. On the same day that correspondence is placed for collection
            and mailing, it is deposited in the ordinary course of business with the United States Postal
20
            Service, in a sealed envelope with postage fully prepaid.
21
         I am a resident or employed in the county where mailing occurred. The envelope or package
22       was placed in the mail at Los Angeles, California.
23 տ By personal service. I personally delivered the documents to the persons at the addresses
24       listed below. (1) For a party represented by an attorney, the delivery was made to the attorney

25       or at the attorney¶s office by leaving all the documents in an envelope or package that was
         clearly labeled to identify the attorney being served with a receptionist or an individual in
26
         charge of the office. (2) For a party, delivery was made to the party or by leaving the
27
         documents at the party¶s residence with some person not less than 18 years of age between the
28       hours of eight in the morning and six in the evening.
                                                       -i-
     P




                                                                          EXHIBIT "6" - Page 47
Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.49 Page 49 of 53




 1 ց By e-mail or electronic transmission. Based on a court order or an agreement of the parties
 2 to accept service by e-mail or electronic transmission, I caused the documents to be sent to the
          person at the e-mail addresses listed below. I did not receive, within a reasonable time after
 3
          the transmission, any electronic message or other indication that the transmission was
 4
          unsuccessful.
 5
 6                                             SERVICE LIST

 7       ALLEN THEWENY, ESQ.                             Counsel for Defendant Walmart, Inc.
         PETIT KOHN INGRASSIA LUTZ & DOLIN
 8       11622 El Camino Real, #300
         San Diego, CA 92130
 9       Tel: (858) 755-8500
         Fax: (858) 755-8504
10       Email: atheweny@pettitkohn.com
11
     ‫܈‬     (State)         I declare under penalty of perjury under the laws of the State of California
12 that the above is true and correct.
13   ‫܆‬     (Federal)     I declare under penalty of perjury that I am employed in the office of a
   member of the bar of this court at whose direction the service was made, and that the foregoing is
14 true and correct.
15            Executed on December 20, 2022, at Los Angeles, California
16
17
                                                                     Alice Ventura
18
19
20
21
22
23
24
25
26
27
28
                                                      -ii-
     P




                                                                          EXHIBIT "6" - Page 48
            Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.50 Page 50 of 53
                                   - DO NOT FILE WITH THE COURT-                       CIV-050
      -UNLESS YOU ARE APPL YING FOR A DEFAULT JUDGMENT UNDER CODE OF CIVIL PROCEDURE§ 585 -
                                                                                                                       TELEPHONE NO.:
                                                                                                                                                                                         FOR COURT USE ONLY
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address):                                                  310 774-45000
JUSTIN FARAHI, ESQ. (SBN 298086)




     ATTORNEY FOR /name):        Lorena Velazquez
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:       330 W BROADWAY
 MAILING ADDRESS:

CITY AND ZIP CODE:     SAN DIEGO 92101
     BRANCH NAME:      SAN DIEGO SUPERIOR COURT
     PLAINTIFF: LORENA VELAZQUEZ
DEFENDANT: WALMART, INC., PROTEA PROPERTIES, LLC. , and Does 1 to 50
                                                                                                                                                                 CASE NUMBER:
                                         STATEMENT OF DAMAGES
                                     (Personal Injury or Wrongful Death)                                                                                         CASE NO .37-2022-00021526-CU-PO-CT

To (name of one defendant only): WALMART , INC.
Plaintiff (name of one plaintiff only): LORENA V ELAZQUEZ
seeks damages in the above-entitled action, as follows:
                                                                                                                                                                                                                 AMOUNT
1. General damages
     a.   [KJ     Pain, suffering, and inconvenience ................................................................................................. $                                                    5,000,000.00
                                                                                                                                                                                                         ---- ----
     b.   [KJ     Emotional distress ............................................................................................................................ $                                                 3,000,000.00
                                                                                                                                                                                                             ------'----'-----

     C.   D       Loss of consortium .. ..... .. .. .. .. .. .. ..... .. .... ..... .. .... .. ... ... .... ... .. ... .. .. ..... .. .... ... .. .. ... .. ..... .. ....... .. ... .. .. ..... .. ..... $
                                                                                                                                                                                                         --------
     d.   D       Loss of sociey and companionsh ip (wrongful death actions only).......................... ..... ........... ........                                                                 $
                                                                                                                                                                                                         --------
     e.   D       Other (specify)                                                                                                                                                                      $ _ _ _ _ _ _ __

     f.   D       Other (specify)                                                                                                                                                                      $
                                                                                                                                                                                                         --------
     g.   D       Continued on Attachment 1.g.
2. Special damages
     a.   [KJ     Medical expenses (to date) ............................................................................................. ............... .. $                                                        827,871.96

     b.   [X]     Future medical expenses (present value) .......................... .............................................. ................ $                                                              2,000,000.00

     c.   [xJ     Loss of earnings (to date) ............................................................................. .... .............................. . $                                                    500,000.00

     d.   [xJ     Loss of future earning capacity (present value) ............................................................................. .. $                                                                   300,000.00

     e.   D       Property damage ........................................................................................................ ................... .. $

     f.   D       Funeral expenses (wrongful death actions only) ....... ...... ....................... ....................... ................ .. $
     g.   D       Future contributions (present value) (wrongful death actions only) ................................................ . $

     h.   D       Value of personal service, advice, or training (wrongful death actions only) .................................. . $
     i.   D       Other (specify)                                                                                                                                                                      $
     j.   D       Other (specify)                                                                                                                                                                      $
     k.   D       Continued on Attachment 2.k.

3.   D       Punitive damages: Plaintiff reserves the right to seek punitive damages in the amount of (specify) .. $
             when pursuing a judgment in the suit filed against you.
Date: 09/29/2022
JUSTIN FARAHI
                                (TYPE OR PRINT NAME)                                                                                      ►            (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)

                                                                                            (Proof of service on reverse)                                                                                                   Page 1   ot 2
Form Adopted for Mandatory Use                                                         STATEMENT OF DAMAGES                                                                                 Code of Civil Procedure, §§ 425.11 , 425.115
  Judicial Council of California                                                                                                                                                                                    www.courts.ca.gov
 CIV-050 (Rev. January 1, 2007]                                                    (Personal Injury or Wrongful Death)
                                                                                                                                                                             EXHIBIT "7" - Page 49
             Case 3:23-cv-00027-JM-JLB Document 1 Filed 01/06/23 PageID.51 Page 51 of 53
                                                                                                                                                      CIV-050
      PLAINTIFF: LORENA V ELAZQUEZ                                                                       CASE NUMBER:

   DEFENDANT: WALMART, INC., PROTEA PROPERTIES, LLC., and Does 1 to 50                                   CASE NO.37-2022-00021526-CU-PO-CT

                                                          PROOF OF SERVICE
(After having the other party served as described below, with any of the documents identified in item 1, have the person who served
the documents complete this Proof of Service. Plaintiff cannot serve these papers.)
1. I served the
     a.   D        Statement of Damages            D      Other      (specify):
     b. on (name):
     c. by serving        D          defendant    D      other    (name and title or relationship to person served):
     d.   D        by delivery           D     at home      D      at business
          (1) date:
          (2) time:
          (3) address:
     e.   D        by mailing
          (1) date:
          (2) place:
2. Manner of service (check proper box):
     a.   D        Personal service. By personally delivering copies. (CCP § 415.10)
     b.   D        Substituted service on corporation, unincorporated association (including partnership), or public entity. By
                   leaving, during usual office hours, copies in the office of the person served with the person who apparently was in charge
                   and thereafter mailing (by first-class mail, postage prepaid) copies to the person served at the place where the copies
                   were left. (CCP § 415.20(a))
     c.   D        Substituted service on natural person, minor, conservatee, or candidate. By leaving copies at the dwelling house,
                   usual place of abode, or usual place of business of the person served in the presence of a competent member of the
                   household or a person apparently in charge of the office or place of business, at least 18 years of age, who was informed
                   of the general nature of the papers, and thereafter mailing (by first-class mail, postage prepaid) copies to the person
                   served at the place where the copies were left. (CCP § 415.20(b )) (Attach separate declaration or affidavit stating
                   acts relied on to establish reasonable diligence in first attempting personal service.)
     d.   D        Mail and acknowledgment service. By mailing (by first- class mail or airmail, postage prepaid) copies to the person
                   served, together with two copies of the form of notice and acknowledgment and a return envelope, postage prepaid,
                   addressed to the sender. (CCP § 415.30) (Attach completed acknowledgment of receipt.)
     e.   D        Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
                   requiring a return receipt) copies to the person served. (CCP § 415.40) (Attach signed return receipt or other evidence
                   of actual delivery to the person served.)
     f.   D        Other (specify code section):
                   D       additional page is attached.

3. At the time of service I was at least 18 years of age and not a party to this action.
4. Fee for service: $
5. Person serving:
   a.     D California sheriff, marshal, or constable                                   f. Name, address and telephone number and, if applicable,
     b.   D  Registered California process server                                          county of registration and number:
     c.   D   Employee or independent contractor of a registered
              California process server
    d.    D   Not a registered California process server
    e.    D   Exempt from registration under Bus. & Prof. Code
              § 22350(b)
I declare under penalty of perjury under the laws of the                               (For California sheriff, marshal, or constable use only)
State of California that the foregoing is true and correct.                            I certify that the foregoing is true and correct.

Date:                                                                                            Date:


►------                          (SIGNATURE)
                                                                                                 ►------                (SIGNATURE)



CIV-050 (Rev. January 1, 2007]                                       PROOF OF SERVICE                                                                    Page 2 of 2
                                                                                                                          Code of Civil Procedure §§ 425.11, 425.115
                                                                   (Statement of Damages)
                                                                                                                EXHIBIT "7" - Page 50
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                       Secretary of State
                       Certificate of Status


I, SHIRLEY N. WEBER, PH.D., California Secretary of State, hereby certify:



  Entity Name:              WALMART INC.
  Entity No.:               1634374
  Registration Date:        02/03/1989
  Entity Type:              Stock Corporation - Out of State - Stock
  Formed In:                DELAWARE
  Status:                   Active




The above referenced entity is active on the Secretary of State's records and is qualified to transact
intrastate business in California.

This certificate relates to the status of the entity on the Secretary of State’s records as of the date of this
certificate and does not reflect documents that are pending review or other events that may impact status.

No information is available from this office regarding the financial condition, status of licenses, if any,
business activities or practices of the entity.


                                                IN WITNESS WHEREOF, I execute this certificate and affix
                                                the Great Seal of the State of California this day of June 20,
                                                2022.




                                                   SHIRLEY N. WEBER, PH.D.
                                                   Secretary of State




Certificate No.: 023259530

To verify the issuance of this Certificate, use the Certificate No. above with the Secretary of State
Certification Verification Search available at bizfileOnline.sos.ca.gov.
                                                                                   EXHIBIT "8" - Page 51
              Case
1/4/23, 3:25 PM      3:23-cv-00027-JM-JLB Document 1Arkansas
                                                       FiledSecretary
                                                             01/06/23 of StatePageID.53 Page 53 of 53




       Search Incorporations, Cooperatives, Banks and Insurance Companies
       This is only a preliminary search and no guarantee that a name is available for initial filing
       until a confirmation has been received from the Secretary of State after filing has been processed
       Please review our NAME AVAILABILITY GUIDELINES HERE prior to searching for a new entity name.

       Printer Friendly Version
       LLC Member information is now confidential per Act 865 of 2007

       Use your browser's back button to return to the Search Results

       Begin New Search
                                    For service of process contact the Secretary of State's office.


                                    Corporation Name                         WALMART INC.

                                    Fictitious Names                         BUD'S DISCOUNT CITY
                                                                             BUD'S WAREHOUSE OUTLET
                                                                             BUD'S WAREHOUSE OUTLET
                                                                             FORT SMITH REMARKETING
                                                                             SAM'S CLUB
                                                                             SAM'S WHOLESALE CLUB
                                                                             WAL-MART
                                                                             WAL-MART AVIATION
                                                                             WAL-MART EXPRESS
                                                                             WAL-MART NEIGHBORHOOD MARKET
                                                                             WAL-MART NEIGHBORHOOD MARKET
                                                                             WAL-MART SUPERCENTER
                                                                             WAL-MART SUPERCENTER
                                                                             WAL-MART SUPERCENTER
                                                                             WAL-MART SUPERCENTER #1147
                                                                             WAL-MART SUPERCENTER #8
                                                                             WAL-MART VACATIONS
                                                                             WALTON LIFE FITNESS CENTER

                                    Filing #                                 100067582

                                    Filing Type                              Foreign For Profit Corporation

                                    Filed under Act                          For Bus Corp; 958 of 1987

                                    Status                                   Good Standing

                                    Principal Address

                                    Reg. Agent                               C T CORPORATION SYSTEM

                                    Agent Address                            124 WEST CAPITOL AVENUE, SUITE 1900

                                                                             LITTLE ROCK, AR 72201

                                    Date Filed                               03/31/1970

                                    Officers                                 SEE FILE, Incorporator/Organizer
                                                                             RICKY YOUNG , Tax Preparer
                                                                             C DOUGLAS MCMILLON , President
                                                                             RACHEL BRAND , Secretary
                                                                             WAYNE HAMILTON , Vice-President
                                                                             AMANDA WHALEN , Treasurer
                                                                             DAVID CHOJNOWSKI , Controller

                                    Foreign Name                             N/A

                                    Foreign Address                          702 SW 8TH STREET
                                                                             BENTONVILLE, AR 72716

                                    State of Origin                          DE


                                    Purchase a Certificate of Good           Pay Franchise Tax for this corporation
                                    Standing for this Entity




                                                                                                                EXHIBIT "9" - Page 52
https://www.sos.arkansas.gov/corps/search_corps.php?DETAIL=9117&corp_type_id=&corp_name=Walmart+Inc.&agent_search=&agent_city=&agent…   1/1
